                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

   UNITED STATES,                               )
                                                )
                 Plaintiff,                     )
                                                )
   v.                                           )      No.:   3:09-CR-93-TAV-DCP-1
                                                )
   DENNIS R. BOLZE,                             )
                                                )
                 Defendant.                     )


                         MEMORANDUM OPINION AND ORDER

          This action is before the Court on defendant’s pro se Motion to Alter or Amend the

   Judgment [Doc. 157] and Second Motion to Alter or Amend the Judgment [Doc. 158].

   Defendant moves the Court, pursuant to Rule 60(b)(6) of the Federal Rules of Civil

   Procedure, to relieve him from the judgment denying and dismissing with prejudice his

   motion for post-conviction relief pursuant to 28 U.S.C. § 2255 [Doc. 146]. For the reasons

   discussed herein, the motions are DENIED.

   I.     Background

          The facts of this case are summarized in the Court’s memorandum opinion entered

   contemporaneously with the judgment [Doc. 145]. On September 10, 2012, defendant filed

   his Motion to Vacate Under 28 U.S.C. § 2255 [Doc. 109]. This Court denied his motion

   and dismissed it with prejudice, simultaneously denying a certificate of appealability

   [Doc. 146]. Nonetheless, he requested a certificate of appealability from the Sixth Circuit

   Court of Appeals [Doc. 147]. In a ten-page order reviewing defendant’s claims and this




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   Court’s opinion, the Sixth Circuit denied defendant’s request, stating defendant had not

   met the burden of a substantial showing of the denial of a constitutional right and that

   reasonable jurists would not debate the district court’s ruling on the issues [Doc. 152].

   Defendant then filed the instant motions.

   II.    Standard of Review

          As a threshold matter, the Court must determine whether Petitioner’s motion for

   relief properly has been brought under Rule 60(b) or whether it should be considered a

   second or successive § 2255 motion.1 In the context of § 2255 relief, Rule 60(b) is not

   intended to raise new grounds for relief or challenge the merits of the district court’s order

   but to resolve “some defect in the integrity of the federal habeas proceedings.” Gonzalez v.




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              Defendant’s motions also refer to Federal Rule of Civil Procedure 60(d) which provides
   relief from a judgment or order via independent action. Part (d) is “commonly referred to as Rule
   60’s ‘savings clause’” and reads: “Other Powers to Grant Relief. This rule does not limit a court’s
   power to entertain an independent action to relieve a party from a judgment, order or proceeding .
   . . .” Fed. R. Civ. P. 60(d)(1). An independent action is “’available only to prevent a grave
   miscarriage of justice’” which is a “stringent and demanding standard.” Mitchell, 651 F.3d at 595
   (quoting United States v. Beggerly, 524 U.S. 38, 47 (1998); see also Pickford v. Talbott, 225 U.S.
   651, 657 (1912) (available when enforcement of the judgment is “manifestly unconscionable”).
            Defendant makes only passing references to relief under this rule and asserts the standard
   and elements of an independent action [Doc. 157 p. 2; Doc. 158 p. 2] but fails to assert any facts
   to prove the elements or argue why he meets such a demanding standard. This Court’s Local Rules
   require that requests for relief include “a concise statement of the factual and legal grounds which
   justify the ruling sought from the Court.” E.D.TN. LR 7.1(b). As such, this request can be denied
   for failure to comply with the Local Rules. Alternatively, the request could be deemed waived.
   See El-Moussa v. Holder, 569 F.3d 250, 257 (6th Cir. 2009) (“Issues adverted to in a perfunctory
   manner, unaccompanied by some effort at developed argumentation, are deemed waived. It is not
   sufficient for a party to mention a possible argument in [a] skeletal way, leaving the court to put
   flesh on its bones.” (quoting McPherson v. Kelsey, 125 F.3d 989, 995–96 (6th Cir. 1997))).
   Therefore, defendant fails to meet his burden under Rule 60(d).

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   Crosby, 545 U.S. 524, 532 (2005).2 If a defendant’s Rule 60(b) motion raises new “claims”

   after he has already litigated a § 2255 motion or if the motion attacks the federal court’s

   previous resolution of a claim on the merits, the Court must interpret defendant’s Rule

   60(b) motion as a second or successive § 2255 motion. Id. (holding that “for purposes of

   § 2244(b) an ‘application’ for habeas relief is a filing that contains one or more ‘claims,’”

   even if raised in a Rule 60(b) motion); In re Nailor, 487 F.3d 1018, 1022–23 (6th Cir.

   2007) (applying Gonzalez in the § 2255 context and holding that a Rule 60(b) motion

   should be considered a § 2255 motion if it challenges the prior resolution of a claim “on

   the merits”).

          If the motion has properly been brought under Rule 60(b), it is “a litigant’s exclusive

   avenue when seeking relief from a judgment or order.” Computer Leasco, Inc. v. NTP,

   Inc., 194 F. App’x 328, 334 (6th Cir. 2006) (citing United States v. Beggerly, 524 U.S. 38,

   46 (1998)). The rule provides:

          On motion and just terms, the court may relieve a party or its legal
          representative from a final judgment, order, or proceeding for the following
          reasons:
          (1)    mistake, inadvertence, surprise, or excusable neglect;
          (2)    newly discovered evidence that, with reasonable diligence, could not
                 have been discovered in time to move for a new trial under Rule 59(b);
          (3)    fraud (whether previously called intrinsic or extrinsic),
                 misrepresentation, or misconduct by an opposing party;
          (4)    the judgment is void;

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             Defendant incorrectly cites the appellate court’s standard of review for a district court’s
   denial of a Rule 60(b) as the applicable standard this Court should apply here when ruling on a
   Rule 60(b) motion in the first instance [Doc. 157 p. 2 (“clear error of judgment, such as applying
   the incorrect legal standard, misapplying the correct legal standard, or relying upon clearly
   erroneous findings of fact” (quoting Info-Hold, Inc. v. Sound Merchandising, Inc., 538 F.3d 448,
   454 (6th Cir. 2008))].
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          (5)    the judgment has been satisfied, released, or discharged; it is based on
                 an earlier judgment that has been reversed or vacated; or applying it
                 prospectively is no longer equitable; or
          (6)    any other reason that justifies relief.

   Fed. R. Civ. P. 60(b). As a general matter, “relief under [this rule] is ‘circumscribed by

   public policy favoring finality of judgments and termination of litigation.’” Blue Diamond

   Coal Co. v. Trs. of UMWA Combined Ben. Fund, 249 F.3d 519, 524 (6th Cir. 2001)

   (quoting Waifersong Ltd. v. Classic Music Vending, 976 F.2d 290, 292 (6th Cir. 1992)).

   Thus, “the party seeking relief under Rule 60(b) bears the burden of establishing the

   grounds for such relief by clear and convincing evidence.” Info-Hold, Inc. v. Sound

   Merch., Inc., 538 F.3d 448, 454 (6th Cir. 2008) (citations omitted).

          More specifically, “a Rule 60(b)(1) motion is intended to provide relief . . . when

   the judge has made a substantive mistake of law or fact in the final judgment or

   order.” United States v. Reyes, 307 F.3d 451, 455 (6th Cir. 2002). The catchall provision

   of subsection (6) applies “only in exceptional or extraordinary circumstances which are not

   addressed by the first five numbered clauses of the Rule.” Hopper v. Euclid Manor Nursing

   Home, Inc., 867 F.2d 291, 294 (6th Cir. 1989) (citing Pierce v. United Mine Workers, 770

   F.2d 449, 451 (6th Cir. 1985)). “‘The decision to grant Rule 60(b)(6) relief is a case-by-

   case inquiry that requires the trial court to intensively balance numerous factors, including

   the competing policies of final judgments and the incessant command of the court’s

   conscience that justice be done in light of all the facts.” McGuire v. Warden, Chillicothe

   Corr. Inst., 738 F.3d 741, 750 (6th Cir. 2013) (quoting Thompson v. Bell, 580 F.3d 423,



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   442 (6th Cir. 2009)). “[R]elief under Rule 60(b)(6) should be granted only in unusual and

   extreme situations where principles of equity mandate relief.” GenCorp, Inc. v. Olin Corp.,

   477 F.3d 368, 373 (6th Cir. 2007) (quotation marks and citations omitted).

   III.   Analysis

          The Court will address each of defendant’s motions in turn.

          A.     Defendant’s First Motion to Alter or Amend

          Defendant asserts two (2) main claims that he posits “affect the integrity of the

   judicial system” and therefore are asserted under Rule 60(b) [Doc. 157 p. 19]. First, he

   states the district court “misapplied the law denying review of an actual innocence claim,

   which created a clear fundamental mis-carriage [sic] of justice affecting the very integrity

   of the entire habeas proceeding” and that the Court “abused its discretion when it did not

   address whether [it must consider] the merits of Mr. Bolze’s proposed actual innocence

   claims before rejecting them on procedural grounds” [Doc. 157 p. 8–9]. This claim is

   properly asserted under Rule 60(b) as he challenges grounds seven and eight from his

   § 2255 motion which were denied on procedural grounds, for failure to raise them on direct

   appeal, rather than resolved on the merits.

          This Court held he had procedurally defaulted these claims because he had not

   proven good cause for his failure to raise such arguments and prejudice if unable to proceed

   or that he was actually innocent. Regalado v. United States, 334, F.3d 520, 528 (6th Cir.

   2003). This Court acknowledged that while petitioner made “passing reference to actual

   innocence throughout his petition, he [did] not do so in the context of” his arguments

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   pertaining to these grounds, instead attempting, unsuccessfully, to side-step procedural

   default on good cause [Doc 145 p. 52]. As defendant’s claims did not fit either prong,

   grounds seven and eight were procedurally defaulted.

          In support of his claim that the Court should have analyzed the merits of his actual

   innocence claim, defendant cites Penney v. United States, 870 F.3d 459 (6th Cir. 2017),

   which held that a proper showing of actual innocence would allow the district court to

   consider the merits of a defendant’s actual innocence claim despite an untimely Rule 60

   motion. Additionally, defendant erroneously quotes Herrera v. Collins, 506 U.S. 390, 390

   (1993), for the proposition that “valid claims of actual innocence and unauthorized

   detention trump time and procedural bars”3 [Doc. 157 p. 9]. Thus, defendant interprets the

   case law as requiring an analysis of the merits of his actual innocence claim before

   otherwise disposing of it.

          However, as in Penney, defendant fails to make the required showing of actual

   innocence. 870 F.3d at 465. The Sixth Circuit has “required a petitioner arguing actual

   innocence to produce a Supreme Court or Sixth Circuit precedent that establishes that ‘he

   now stands convicted of a crime that the law does not deem criminal.’” Id. at 463 (quoting

   Phillips v. United States, 734 F.3d 573, 582–83 (6th Cir. 2013)). Additionally, a petitioner

   must show that “in light of all the evidence, it is more likely than not that no reasonable

   juror would have convicted him.” Bousley v. United States, 523 U.S. 614, 623 (1998). In

   his § 2255 motion, defendant had only scattered references to actual innocence, and no


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              Defendant quotes Herrera for this proposition when it contains no such quotation.
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   references to actual innocence with regard to grounds seven and eight. Additionally, in the

   instant motion, he does not point to portions of his prior filings or facts that would support

   a finding of actual innocence. He did not provide sufficient evidence to show he was

   actually innocent under the aforementioned requirements, which would save those grounds

   from being procedurally defaulted. Thus, defendant fails to show the substantive mistake

   of law under Rule 60(b)(1) or exceptional and extraordinary circumstances under Rule

   60(b)(6) to be granted relief.

          Second, defendant asserts a second defect in the proceedings that “clearly affect[ed]

   the integrity of the judicial system where the district court abused its discretion in mis-

   applying the correct standards of governing law” [Doc. 157 p. 19]. He asserts the Court

   should have held a hearing to determine whether defendant entered his plea unknowingly

   based on counsel’s deficient performance, counsel’s failure to investigate actual innocence,

   and whether counsel investigated defendant’s prior criminal history [Doc. 157 p. 19]. This

   argument also properly brought under Rule 60(b), as it is challenging a determination in

   the court’s ruling on defendant’s § 2255 motion, but not one made on the merits of a claim.

          A hearing in this case was denied because “the motion and the files and records of

   the case conclusively show[ed] that the prisoner is entitled to no relief.” 28 U.S.C.

   § 2255(b); see also Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007). This

   Court previously held that none of defendant’s claims justified relief in his § 2255 petition,




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   defendant had not identified any material factual disputes requiring resolution at a hearing,4

   and that the undisputed record conclusively precludes collateral relief [Doc. 145 p. 62, 18].

   The Sixth Circuit concluded as to each claim that “reasonable jurists would not debate the

   district court’s ruling” on the issues and thus denied the certificate of appealability [Doc.

   152 p. 7]. Thus, there has been no substantive mistake of law in denying a hearing on these

   bases under Rule 60(b)(1) or exceptional and extraordinary circumstances under 60(b)(6)

   to grant defendant relief.

          Overall, in defendant’s first Motion to Amend or Alter the Judgment, the Court

   concludes that no relief under Rule 60(b) is warranted for either of defendant’s claims.

   Accordingly, defendant’s motion [Doc. 157] is DENIED.

          B.      Defendant’s Second Motion to Alter or Amend

          Defendant’s filed a second Motion to Alter or Amend [Doc. 158] “on the grounds

   the District Court’s 28 U.S.C. § 2255’s . . . conclusions created a manifest miscarriage of

   justice that affected the integrity of the judicial system” [Id. at 1]. Though he couches these



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              In defendant’s Second Motion to Alter or Amend [Doc. 158], he references to what he
   posits is a factual dispute:
           FIRST: The contrary representation created a factual dispute. The Habeas review
           stated, [P]etitioner has not identified any material “factual dispute” requiring
           resolution by way of an evidentiary hearing.” . . . The § 2255 petition had clearly
           claimed that Santos changed the law rendering Bolze actually innocence [sic] of
           committing a criminal act of money laundering . . . The Government’s Answer
           claimed “Santos effected no such change.”
   [Doc. 158 p. 31]. Defendant is misguided as to the definition of a factual dispute. The
   disagreement between the parties here as to the impact of the Supreme Court’s decision in United
   States v. Santos, 553 U.S. 507 (2008), is a legal dispute. It is possible that, as in his Second Motion,
   defendant misunderstands the term and thus this Court’s decision that he had identified no factual
   disputes.
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   claims in language about the integrity of the judicial system as an attempt to obtain relief

   under Rule 60(b), defendant challenges the prior resolution of his claims on the merits, and

   therefore this motion must be construed as a second or successive § 2255 and transferred

   to the Sixth Circuit. See In re Nailor, 487 F.3d at 1022; Reeves v. United States, 1:93-cr-

   102; 1:17-cv-338, 2018 WL 6524282, at *2 (E.D. Tenn. December 12, 2018).

          Defendant states “the Court clearly abused its discretion by applying the wrong

   analytical framework in reaching its findings of fact and conclusion to deny relief. A

   conclusion that affects the integrity of the Federal habeas judicial process” [Doc. 158 p.

   11]. He then outlines many manners in which he asserts the law and facts should have

   been interpreted or addressed in his § 2255 determination [Id. at 11–28]. Next, defendant

   states “the habeas proceeding committed four clear defects in law in reaching its

   determination that clearly affected the integrity of the habeas proceeding” [Id. at 28] and

   describes said defects [Id. at 28–60]. Defendant posits the Court’s conclusion is incorrect,

   and that such conclusion is itself a defect.

          The Court need not reach the merits of defendant’s motion. The Sixth Circuit has

   held that fraud on the habeas court is an example of a qualifying defect. Brooks v. Bobby,

   660 F.3d 959, 963 (6th Cir. 2011). Additionally, a conflict of interest that led to the

   ineffective assistance of habeas counsel could qualify under “sufficiently egregious

   conditions.” Id. Here, however, defendant seeks to relitigate the issues of the first petition

   by alleging the incorrect conclusions were integral errors. Additionally, considering the

   Sixth Circuit has already reviewed this Court’s order in denying the certificate of

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 appealability and determining that reasonable jurists would not debate about these issues,

 defendant fails to assert a defect as to the federal habeas proceedings. Instead, as his motion

 challenges the merits of the decision and is thus interpreted as a successive § 2255 petition.

        Under the “Antiterrorism and Effective Death Penalty Act of 1996,” Petitioner

 cannot file a second or successive § 2255 petition in the district court until he has moved

 in the United States Court of Appeals for the Sixth Circuit for an order authorizing the

 district court to consider the motion. 28 U.S.C. § 2255(h). No such order has been received

 by this Court. Accordingly, Petitioner’s filing will be transferred to the United States Court

 of Appeals for the Sixth Circuit pursuant to 28 U.S.C. § 1631. See In re Sims, 111 F.3d 45,

 47 (6th Cir. 1997).

 IV.    Conclusion

        Accordingly, defendant’s first Motion to Amend or Alter the Judgment as properly

 asserted under Rule 60(b) [Doc. 157] is DENIED. Should defendant give timely notice of

 an appeal from this Order with regard to his first Motion, such notice will be treated as an

 application for a certificate of appealability, which is hereby DENIED because he has

 failed to make a substantial showing of the denial of a constitutional right or to present a

 question of some substance about which reasonable jurists could differ. See 28 U.S.C.

 § 2253(c)(2); Fed. R. App. P. 22(b); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

 Additionally, the Court has reviewed this case pursuant to Rule 24 of the Federal Rules of

 Appellate Procedure and hereby CERTIFIES that any appeal from this action would not

 be taken in good faith and would be totally frivolous. Therefore, any application by

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 defendant for leave to proceed in forma pauperis on appeal is DENIED. See Fed. R. App.

 P. 24.

          With regard to defendant’s second Motion to Alter or Amend the Judgment

 [Doc. 158], the Clerk is DIRECTED to TRANSFER defendant’s filing [Doc. 158] to the

 United States Court of Appeals for the Sixth Circuit.

          IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE




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